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                             srArEsDrsrRrcr           i;l'iT;''-?Ji'
                                         cougY;',?n*.]$5lP
                                                                                   ,/UU/
                     FORTHEDISTRICT
                                  OF NEWMEXICO                          APR2 4

UNITEDSTATESOFAMERICA,                                      MATTHEW.;ilYKMAN
                                                                           t,1.i'-lltt
                  Plaintiff,
            \rc                                       No.a)-eR )fF
                                                cRTMINAL                                   TC
PHILLIPGARCIA,,                                 1 8 U . S . C$. e 2 2 ( s x 1a) n d1 8
                                                U.S.C.S 92a@)Q\:          Felonin
                  Defendant.                    Possession      of a Firearmand
                                                Ammunition.



                               INDICTMENI

TheGrandJurycharges:

            On or aboutthe22nddayof February,20O7,          County,Stateand
                                                in Bernalillo

       of NewMexico,
District                      PHILLIPGARCIA, havingbeenconvicted
                   thedefendant,                               of crimes

punishable
        byimprisonment            oneyear,Robbery
                   foratermexceeding            intheSecond
                                                          Judicial

DistrictCourtfor the Stateof New Mexicoin case numberCRCR96-03943,UnlaMul

Takingof a Vehiclein the SecondJudicialDistrictCourtfor the Stateof NewMexicoin

casenumberCRCR96-3943,Arsonin the SecondJudicialDistrictCourtfor the Stateof

NewMexicoincasenumberCRCR96-03943,
                                Residential    intheSecondJudicial
                                        Burglary

DistrictCourtfor the Stateof NewMexicoin casenumberCRCR97-03978.Possessron

of a DeadlyWeaponby a Prisonerin the SecondJudicialDistrictCourtfor the Stateof

NewMexicoin casenumberCR 99-00548,Receiving              a StolenVehicle
                                          and Transferring

in the SecondJudicialDistrictCourtforthe Stateof NewMexicoin casenumberCR 99-

03043,andPossession             SubstanceintheSecondJudicialDistrictCourtfor
                  of a Controlled
         Case 1:07-cr-00788-JB Document 12 Filed 04/24/07 Page 2 of 2



the Stateof NewMexicoin casenumberCR 05-03651,         possessin and
                                            did knowingly

affectingcommercea firearm,to wit:a Ruger,Markll Target,.22LR caliberpistol,serial

                            six (6) roundsof .22 caliberammunition.
number1941283,andapproximately

              ln violation                    and18 U.S.C.$ 924(a)(2).
                         of 18 U.S.C.S 922(g)(1)

                                    ALLEGATION
                            FORFEITURE

                          of the chargedoffensein the indictment,
             Uponconviction                                    the defendant,

PHILLIPGARCIA,shallforfeitto the UnitedStatespursuant
                                                    to 18 U.S.C.$ 924(d)and28
                                               jnvolvedin the commission
U.S.C.S 2461(c),thefirearmandallof theammunition                       of the

offense,includedbut not limitedto ihe following:

                                              pistol,
                                      LRcaliber
            A. A Ruger,Mark|| Target,.22           serialnumber19-41283and;

             B. Six(6) roundsof .22 caliberammunition.


                                             A TRUE BILL


                                                   tsl
                                             FOREPERSON
